        Case 3:23-cv-00201-WHO Document 194 Filed 05/08/24 Page 1 of 1




                            UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES

 Date: May 8, 2024              Time: 1 hour, 2 mins   Judge: WILLIAM H. ORRICK
                                2:09 p.m. to 3:11 p.m.
 Case No.: 23-cv-00201-WHO      Case Name: Andersen v. Stability AI Ltd.



Attorneys for Plaintiffs:    Joseph R. Saveri, Christopher K.L. Young, Kathleen J. McMahon,
                             Matthew Butterick, and Laura M. Matson
                             (Clients Sarah Andersen, Karla Ortiz, Kelly McKernan present)

Attorney for Stability:      Joseph C. Gratz

Attorney for DeviantArt:     Andrew M. Gass

Attorney for Midjourney: Angela Dunning (Corporate counsel Max Sills present)

Attorneys for Runway AI: David J. Silbert and Paven Malhotra

 Deputy Clerk: Jean Davis                          Court Reporter: Beth Krupa


                                      PROCEEDINGS

Hearing on motions to dismiss conducted in hybrid format allowing for personal and
videoconference appearance. Argument of counsel heard. Motions taken under submission;
written order to follow.
